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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ACCENT DELIGHT INTERNATIONAL LTD.
and XITRANS FINANCE LTD.,

                             Plaintiffs,                    Case No. 18 Civ. 9011

              -against-                                     NOTICE OF APPEARANCE

SOTHEBY’S and SOTHEBY’S, INC.,

                             Defendants.


              PLEASE TAKE NOTICE that Zoe Salzman of EMERY CELLI

BRINCKERHOFF & ABADY LLP hereby appears as counsel on behalf of Plaintiffs in the

above-entitled action, and requests that all papers filed through the ECF system be served upon

her by e-mail at zsalzman@ecbalaw.com.


Dated: October 2, 2018
       New York, New York

                                                    EMERY CELLI BRINCKERHOFF
                                                     & ABADY LLP


                                                    By:                /s/
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